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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



CATHRINE VEIKOS,
                                               Case No. 2:20-cv-04408-JDW
              Plaintiff,

       v.

TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA,

              Defendant.


                                     CIVIL JUDGMENT

      AND NOW, this 2nd day of May, 2023, in accordance with verdict of the jury, and

for the reasons set forth in the Court’s accompanying Findings Of Fact And Conclusions

Of Law, it is ORDERED that JUDGMENT is ENTERED in favor of Plaintiff Cathrine Veikos

and against Defendant Trustees of the University of Pennsylvania in the amount of

$1,382,784.

      The Clerk of Court shall mark this case closed for statistical purposes.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.
